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              EXHIBIT D
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    Transcript of Jamie Ellis,
      Corporate Designee
                         Date: October 24, 2017
         Case: Webster, et al. -v- LLR, Inc, d/b/a/ LuLaRoe




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                    Transcript of Jamie Ellis, Corporate Designee
                          Conducted on October 24, 2017              23

1    point in time did she work for LuLaRoe?                              10:30:49
2        A    Not that I'm aware of.                                      10:30:53
3             MR. GRAHAM:       When you're answering your                10:31:02
4    questions, don't look to me or to Mark.             Just             10:31:03
5    whatever your memory is.                                             10:31:06
6             THE WITNESS:       I'm sorry.      I just look off          10:31:08
7    to the side, just whatever way I'm facing.                           10:31:10
8    BY MS. IVERSON:                                                      10:31:10
9        Q    Which I agree with that assertion, and I                    10:31:16
10   would have brought it up, but for the relationship,                  10:31:19
11   I wasn't too concerned if you were looking over                      10:31:21
12   there.                                                               10:31:24
13            So you said Mr. Transtrum sought you out to                 10:31:26
14   work for the company, and I understand you started                   10:31:29
15   around January, 2016?                                                10:31:33
16       A    Yes.                                                        10:31:35
17       Q    What was your position when you started?                    10:31:35
18       A    Senior tax analyst.                                         10:31:37
19       Q    Was there somebody that had that position                   10:31:40
20   before you?                                                          10:31:46
21       A    No.                                                         10:31:47
22       Q    And has your title changed at all since                     10:31:48
23   you've been with LuLaRoe?                                            10:31:57
24       A    No.                                                         10:31:58
25       Q    What are your job responsibilities as a                     10:32:00


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                    Transcript of Jamie Ellis, Corporate Designee
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1    the first paragraph.       I don't know that you need to               11:56:29
2    read past 2928 except just to make sure it doesn't                     11:56:32
3    impact that.                                                           11:56:36
4               THE WITNESS:     Okay.                                      11:56:42
5               MR. GRAHAM:     Kelly, when you said the top                11:56:53
6    of 2928, you mean the final line?                                      11:56:54
7               MS. IVERSON:     Yeah, one sentence.         Yeah, a        11:56:57
8    sentence-and-a-half.       Excuse me.                                  11:56:59
9               THE WITNESS:     So just up to this line here               11:59:01
10   on 2928?                                                               11:59:03
11   BY MS. IVERSON:                                                        11:59:04
12       Q      Yes.                                                        11:59:05
13       A      Okay.   Let me make sure.                                   11:59:06
14       Q      Mr. Stidham has been designated to talk                     11:59:09
15   about the policies themselves, but you've been                         11:59:12
16   designated to talk about LuLaRoe's communications                      11:59:15
17   with independent retailers related to this policy as                   11:59:17
18   well as complaints and responses to complaints.                        11:59:21
19              So I just want to make sure we're on the                    11:59:23
20   same page about what the policy was as of April,                       11:59:25
21   2016.                                                                  11:59:32
22              Does this document set forth the policy as                  11:59:33
23   you understood it?                                                     11:59:40
24       A      It appears that it sets forth what Audrey                   11:59:43
25   was capable of doing.                                                  11:59:51


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                    Transcript of Jamie Ellis, Corporate Designee
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1        Q    And so as -- can we agree that as of April                  11:59:53
2    of 2016 that across the board, Audrey collected                      12:00:03
3    sales tax based upon a consultant location?                          12:00:07
4        A    Yes.                                                        12:00:10
5        Q    And that was regardless of where the                        12:00:16
6    product was shipped to; is that correct?                             12:00:18
7        A    Yes.                                                        12:00:23
8        Q    Okay.     And when you say it was something --              12:00:24
9    this is what Audrey was capable of doing, what do                    12:00:35
10   you mean by that?                                                    12:00:41
11       A    It's what Audrey was capable of calculating                 12:00:41
12   at the time.                                                         12:00:47
13       Q    Okay.     That restated the same sentence.                  12:00:51
14   I'm wondering what you mean by that, if you can                      12:00:56
15   explain that to me.                                                  12:01:00
16       A    Audrey could calculate the sales tax based                  12:01:01
17   upon the location of the retailer.                                   12:01:06
18       Q    Was the retailer able to change the sales                   12:01:09
19   tax in Audrey when they shipped a product out of                     12:01:21
20   state?                                                               12:01:24
21            MR. GRAHAM:       Objection.      Vague and                 12:01:25
22   ambiguous as to time.                                                12:01:26
23            If you can answer.                                          12:01:27
24   BY MS. IVERSON:                                                      12:01:33
25       Q    And with time, we're talking about after                    12:01:34


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                    Transcript of Jamie Ellis, Corporate Designee
                          Conducted on October 24, 2017              71

1    this April of 2016 policy.                                           12:01:36
2                Was the retailer able to change the amount               12:01:42
3    of sales tax charged on out-of-state purchases after                 12:01:45
4    April, 2016, and before Bless?                                       12:01:51
5        A       Before Bless?    Potentially, yes.                       12:01:53
6        Q       Okay.   In what circumstances?                           12:02:02
7        A       If they were using the app, they could.                  12:02:05
8        Q       Were retailers told that they should not                 12:02:18
9    change the sales tax rate in Audrey?                                 12:02:36
10       A       They can't change the rate in Audrey, but                12:02:41
11   they can change -- oh, let me rephrase this and make                 12:02:44
12   it more clear.                                                       12:02:50
13               In the app, they can change it, and we have              12:02:52
14   advised them not to in certain circumstances                         12:02:56
15   depending on where they were located to change the                   12:02:59
16   rate if they were going to a different location for                  12:03:02
17   a pop-up.                                                            12:03:06
18       Q       So the only time that they were supposed to              12:03:12
19   change the rate was if they were going to a                          12:03:15
20   different location for a pop-up.           Is that a correct         12:03:18
21   statement?                                                           12:03:23
22       A       Yes.                                                     12:03:24
23       Q       Did Audrey have a limit on the number of                 12:03:24
24   times, say, per month, per week, per year -- I don't                 12:03:27
25   know.   You'll have to answer this -- that a                         12:03:31


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                    Transcript of Jamie Ellis, Corporate Designee
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1    consultant could change their location in Audrey?                      12:03:33
2        A      Not that I'm aware of.                                      12:03:36
3        Q      So this document that I provided here which                 12:03:36
4    I marked as Exhibit F, this says, "Weekly Home                         12:04:01
5    Office Update Notes."       Is this based upon some kind               12:04:08
6    of communication to the consultants from home                          12:04:13
7    office?                                                                12:04:15
8        A      Yes.                                                        12:04:18
9        Q      Was this a communication to all                             12:04:19
10   consultants?                                                           12:04:22
11       A      Yes, all of those that joined the webinar.                  12:04:23
12       Q      Okay.   Explain to me, then, how this April,                12:04:30
13   2016, policy was disseminated to the consultants.                      12:04:42
14   You said there's some kind of webinar.                                 12:04:48
15       A      Uh-huh, yes.                                                12:04:50
16       Q      And then what is this document?            A summary        12:04:51
17   of the webinar?                                                        12:05:00
18       A      Yes.                                                        12:05:01
19       Q      Is that sent out after the webinar?                         12:05:02
20       A      Yes.                                                        12:05:04
21       Q      Does LuLaRoe keep the webinars?                             12:05:04
22       A      I'd have to talk to our other department                    12:05:08
23   and see.                                                               12:05:11
24       Q      Was there any other way that this April,                    12:05:13
25   2016, policy was disseminated to consultants other                     12:05:22


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                    Transcript of Jamie Ellis, Corporate Designee
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1    than the webinar and this summary?                                       12:05:26
2        A     Potentially, yes.                                              12:05:46
3        Q     How was it disseminated to all consultants?                    12:05:46
4        A     Through email.                                                 12:05:51
5        Q     And what would have been emailed?             Would it         12:05:52
6    be just this document or something different?                            12:05:56
7        A     I don't know.                                                  12:05:58
8        Q     In preparing for this deposition, did you                      12:05:59
9    look into how LuLaRoe communicated with its                              12:06:05
10   independent retailers related to the April, 2016,                        12:06:09
11   policy?                                                                  12:06:13
12       A     Did I look into that?                                          12:06:13
13       Q     Yes.    Did you?                                               12:06:16
14       A     Yes.                                                           12:06:17
15       Q     Okay.    What did you find about those                         12:06:18
16   communications?                                                          12:06:19
17       A     I'm not sure I quite understand.                               12:06:20
18       Q     What all went -- what went out to all                          12:06:28
19   consultants about this April, 2016, policy?               Tell me        12:06:33
20   what information went to them.                                           12:06:36
21       A     Basically what you see in the documents, in                    12:06:38
22   the document here.                                                       12:06:43
23       Q     This?                                                          12:06:44
24       A     Yeah.    This would have gone to all                           12:06:44
25   retailers.                                                               12:06:47


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                      Transcript of Jamie Ellis, Corporate Designee
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1        Q      Okay.     Well, initially, you said this would              12:06:47
2    have only gone to the retailers that attended the                      12:06:50
3    webinar.                                                               12:06:54
4        A      No.     Those that were at the webinar would                12:06:55
5    have heard this, and this would have been sent to                      12:06:58
6    all retailers because it's the home office update                      12:07:01
7    notes.                                                                 12:07:04
8        Q      Okay.     At some point, a white paper was                  12:07:06
9    also sent to all consultants; right?                                   12:07:23
10       A      I'd have to see what document you're                        12:07:28
11   talking about.                                                         12:07:31
12              MS. IVERSON:       This is going to be H and I.             12:08:25
13              (Ellis Exhibit Numbers H and I were marked                  12:08:26
14   for identification.)                                                   12:08:26
15   BY MS. IVERSON:                                                        12:08:26
16       Q      I'm going to guess you're familiar with                     12:08:31
17   these documents and don't need to read them; right?                    12:08:33
18       A      I would still need to read through the                      12:08:36
19   documents.                                                             12:08:39
20              MR. GRAHAM:       Without rereading it in its               12:09:35
21   entirety, are you familiar with this document?                         12:09:37
22              THE WITNESS:       Yes.                                     12:09:42
23              MR. GRAHAM:       Exhibit H.      And with Exhibit I        12:09:42
24   here?                                                                  12:09:45
25              THE WITNESS:       Yes.                                     12:09:46


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                        Conducted on October 24, 2017               85

1        Q    Well, the reason that sales tax was                        13:34:57
2    incorrectly charged was because it was set up based                 13:35:03
3    on the location of the consultant; right?                           13:35:06
4        A    It could be potentially incorrectly                        13:35:09
5    charged, yes.                                                       13:35:12
6        Q    Okay.     But we -- you had said it was                    13:35:12
7    incorrectly charged.     My question is:        Was it              13:35:15
8    incorrectly charged because it was set up based on                  13:35:18
9    the location of the consultant?                                     13:35:21
10       A    Not always.     So, again, not all                         13:35:22
11   transactions were incorrectly charged.                              13:35:26
12       Q    Okay.     For out-of-state sales from one                  13:35:29
13   state to another, was it incorrectly charged --                     13:35:35
14   let's say out-of-state sales from one state to one                  13:35:39
15   of the 11 states in the amended complaint.            Was it        13:35:42
16   incorrectly charged because it was set based on the                 13:35:46
17   location of the consultant?                                         13:35:48
18       A    Yes.    For the transactions that we have                  13:35:51
19   identified, yes.                                                    13:36:02
20       Q    Was it LuLaRoe's practice to provide this                  13:36:03
21   sales tax memo and this white paper to consultants                  13:36:08
22   if they questioned the April, 2016, policy?                         13:36:10
23       A    It was sent to all retailers.                              13:36:14
24       Q    Okay.     Now, if a retailer would contact                 13:36:17
25   LuLaRoe with questions about the policy, was it                     13:36:21


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                    Transcript of Jamie Ellis, Corporate Designee
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1    drafting the response?                                              13:49:12
2        A       I would assume so.      My recollection, I              13:49:15
3    would assume he would have been.                                    13:49:29
4        Q       It was your recollection that he was                    13:49:30
5    involved?                                                           13:49:32
6        A       Yes.                                                    13:49:32
7        Q       Okay.     And in your response, you indicate            13:49:32
8    that in instances when the fashion consultant and                   13:49:50
9    customer live in different sales tax jurisdictions,                 13:49:55
10   e.g., different states, sales tax may be charged                    13:50:00
11   incorrectly?                                                        13:50:03
12       A       Uh-huh.                                                 13:50:04
13       Q       So by June 28, 2016, can we agree that                  13:50:04
14   LuLaRoe was aware that sales tax was being charged                  13:50:12
15   incorrectly when the fashion consultant and customer                13:50:17
16   live in different sales tax jurisdictions, e.g.,                    13:50:20
17   different states?                                                   13:50:23
18       A       Which one are we looking at?          You made a        13:50:24
19   reference to a response.        Which response are we               13:50:29
20   looking at?                                                         13:50:31
21       Q       Well, both responses are essentially the                13:50:32
22   same.   My question is not about a response but about               13:50:34
23   LuLaRoe's knowledge and asking if by June 28, 2016,                 13:50:40
24   when this response was drafted, if LuLaRoe was                      13:50:45
25   aware, by that point in time, that when the fashion                 13:50:48


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                    Transcript of Jamie Ellis, Corporate Designee
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1    consultant and customer lived in different sales tax                        13:50:56
2    jurisdiction that sales tax may be charged                                  13:50:59
3    incorrectly?                                                                13:51:02
4        A    Yes.    We made that aware even with the                           13:51:02
5    white paper and sales tax memo.                                             13:51:06
6        Q    I'm sorry.      What did you say?                                  13:51:07
7        A    Yes.    As you saw -- as we already explained                      13:51:09
8    in the H and I exhibit, we were aware, even at that                         13:51:14
9    time, because we knew the best option that we could                         13:51:18
10   do at that particular time was what was available.                          13:51:20
11   So even at that point, as it states, we were still                          13:51:23
12   doing the best we could with the information and                            13:51:26
13   software that we had available at the time.                                 13:51:29
14       Q    Okay.     You want to go off the record?                           13:51:31
15       A    I just lost my mic.                                                13:51:57
16       Q    Hey, at least it wasn't only me now.                  We're        13:52:02
17   just waiting for you to lose yours, Steve, and we'll                        13:52:05
18   be a trifecta here.                                                         13:52:10
19       A    It just got caught on the chair.                                   13:52:17
20       Q    After this June 28, 2016, response to these                        13:52:22
21   two attorney generals, LuLaRoe continued to follow                          13:52:28
22   the April, 2016, policy until Bless was fully                               13:52:31
23   integrated; right?                                                          13:52:35
24       A    Yes.                                                               13:52:37
25       Q    And when was Bless fully integrated?                  I            13:52:38


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                      Transcript of Jamie Ellis, Corporate Designee
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1    guess there was some kind of transition, and some                     13:52:43
2    consultants used it and some didn't; is that right?                   13:52:48
3        A      Yes.                                                       13:52:50
4        Q      What date was -- let me back up.                           13:52:50
5               Are there any consultants using Audrey now?                13:52:54
6        A      No.                                                        13:52:59
7        Q      Okay.     What was the last date that any                  13:52:59
8    consultant, even just one, utilized Audrey?                           13:53:01
9        A      May 31, 2017.                                              13:53:05
10       Q      So by June 1, 2017, every consultant                       13:53:09
11   utilized Bless?                                                       13:53:22
12       A      Every consultant was off of Audrey.                        13:53:23
13       Q      Was off of Audrey.         Okay.                           13:53:26
14              Did you receive correspondence from any                    13:53:30
15   other states' attorney general office regarding                       13:53:36
16   complaints about the sales tax policy?                                13:53:40
17       A      I believe so.                                              13:53:43
18       Q      What states?                                               13:53:45
19       A      Pennsylvania, Minnesota -- I believe it was                13:53:48
20   Oregon.                                                               13:53:59
21       Q      Did LuLaRoe provide that information to                    13:54:00
22   counsel?                                                              13:54:03
23       A      Yes.    To CPAs and --                                     13:54:03
24       Q      I mean, your counsel here.                                 13:54:08
25       A      Yes.    Oh, just recently it was one that we               13:54:09


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                     Transcript of Jamie Ellis, Corporate Designee
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1    had just found.                                                      13:54:13
2                 MS. IVERSON:    I don't believe we have that,           13:54:21
3    Steve.                                                               13:54:22
4                 MR. GRAHAM:    I didn't know about this                 13:54:23
5    myself.                                                              13:54:25
6                 When did you provide this?                              13:54:25
7                 THE WITNESS:    I think just a couple days              13:54:28
8    ago.                                                                 13:54:29
9                 MS. IVERSON:    We don't have it from you               13:54:31
10   guys.      We do have it from a right-to-know request.               13:54:33
11                MR. GRAHAM:    So you have it?                          13:54:33
12                MS. IVERSON:    No.    We don't have it from            13:54:33
13   you guys.                                                            13:54:33
14                MR. GRAHAM:    You have what the state of               13:54:36
15   Oregon has as a --                                                   13:54:37
16                MS. IVERSON:    We have what they gave us,              13:54:37
17   yes.                                                                 13:54:39
18                MR. GRAHAM:    Okay.                                    13:54:39
19                MS. IVERSON:    But we don't have it from               13:54:39
20   you.                                                                 13:54:41
21   BY MS. IVERSON:                                                      13:54:41
22          Q     Any other states besides Pennsylvania,                  13:54:50
23   Minnesota, and Oregon?                                               13:54:51
24          A     Not to my recollection, no.                             13:54:53
25          Q     Okay.   Did you receive complaints from                 13:54:55


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                    Transcript of Jamie Ellis, Corporate Designee
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1    consumers about the sales tax policy?                               13:54:58
2        A    Yes.                                                       13:55:02
3        Q    And what was LuLaRoe's practice with regard                13:55:02
4    to responding to those complaints?                                  13:55:07
5        A    Usually to request to have them talk to                    13:55:09
6    their retailers and discuss it with their retailers.                13:55:11
7    Unless otherwise that they could not get a hold of                  13:55:14
8    the retailer, then we would discuss it with them and                13:55:18
9    issue refunds if they so requested.                                 13:55:21
10       Q    So the first response was to have them talk                13:55:23
11   to their retailers?                                                 13:55:37
12       A    Yes.     Because they're the ones that are                 13:55:38
13   supposed to handle customer service on the end --                   13:55:40
14   they're the end user, the ones involved with the                    13:55:42
15   customers.    Our customers are our retailers.                      13:55:46
16       Q    And that covers one of my additional                       13:55:48
17   questions was that the retailers are kind of the                    13:55:52
18   frontline of communication with the end consumers of                13:55:56
19   LuLaRoe products?                                                   13:56:00
20       A    Yes.                                                       13:56:00
21       Q    Okay.     And were the consultants given any               13:56:01
22   other information about the April, 2016, policy                     13:56:09
23   other than what we've discussed:           The sales tax            13:56:14
24   memo, the white paper, the webinar, and the summary                 13:56:17
25   of the webinar?                                                     13:56:22


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                   Transcript of Jamie Ellis, Corporate Designee
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1        A    Not to my knowledge.         I don't know if there         13:56:24
2    was others, if others had said anything else other                  13:56:28
3    than what was directed in these.                                    13:56:31
4        Q    Okay.     So the information that LuLaRoe gave             13:56:33
5    to the consultants was the white paper saying --                    13:56:36
6        A    This is what we're doing.          This is what the        13:56:39
7    software is doing and our policy and our position.                  13:56:42
8        Q    And it takes the position that it is a                     13:56:46
9    proper and lawful way to do it; right?                              13:56:49
10            MR. GRAHAM:      Objection.      Calls for a legal         13:56:51
11   conclusion.                                                         13:56:53
12   BY MS. IVERSON:                                                     13:56:55
13       Q    Go ahead.     You can answer.                              13:56:56
14       A    I can't answer if it was proper and lawful.                13:56:58
15   That's what you guys --                                             13:57:04
16       Q    No, my question is what the white paper                    13:57:06
17   says.                                                               13:57:09
18       A    Which part of the white paper?            Because          13:57:09
19   even in the white paper, it says we are doing the                   13:57:13
20   best of our ability.                                                13:57:16
21       Q    Yeah, you want to be a good corporate                      13:57:18
22   citizen; right?                                                     13:57:19
23       A    Uh-huh.     It says, "Most effectively with                13:57:21
24   the collective sales tax requirements of the taxing                 13:57:27
25   states while balancing the interest of consultants."                13:57:27


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1    customer.PDF.                                                        14:26:18
2               Do you know what that document is?                        14:26:21
3        A      I can make an assumption only on which one                14:26:22
4    that is.                                                             14:26:27
5        Q      Which one do you believe it is?                           14:26:27
6        A      I would think it's the sales tax memo.                    14:26:29
7        Q      Which is Exhibit H?                                       14:26:32
8        A      Which is H is what I would assume that one                14:26:33
9    to be.                                                               14:26:38
10       Q      Okay.   And was that one of LuLaRoe's                     14:26:38
11   practices was to send customers that sales tax memo;                 14:26:58
12   so they could be informed on how sales tax works and                 14:26:51
13   how they are determined?                                             14:26:54
14       A      It was one of the methods that retailer                   14:27:01
15   support would tend to go towards.                                    14:27:05
16       Q      Okay.   Who is Andrea Hughes?         Is she              14:27:07
17   retailer support?                                                    14:27:16
18       A      Yes.                                                      14:27:17
19       Q      What does retailer support mean?                          14:27:19
20       A      Basically our call center.                                14:27:20
21       Q      Okay.                                                     14:27:26
22       A      Call center and email team.                               14:27:26
23       Q      Did the tax team provide this information                 14:27:28
24   to retailer support to give out to customers?                        14:27:43
25       A      I believe Terrel had disseminated it to all               14:27:48


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                    Transcript of Jamie Ellis, Corporate Designee
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1    departments.                                                         14:27:54
2        Q       And LuLaRoe knew that these -- this sales                14:27:55
3    tax memo would be sent to end consumers?                             14:28:08
4        A       Yes.                                                     14:28:14
5        Q       Okay.   And the second document, 18375, in               14:28:15
6    this group, was an Oregon customer.                                  14:28:31
7        A       It appears.                                              14:28:34
8        Q       Okay.   And Derryl Trujillo responded.                   14:28:36
9                Is he also in retailer support?                          14:28:43
10       A       Yes.                                                     14:28:45
11       Q       And he responded saying that sales tax is                14:28:48
12   calculated on the zip code of the retailer that the                  14:28:53
13   customer purchases from?                                             14:28:58
14       A       Uh-huh, yes, he did.                                     14:28:59
15       Q       Okay.   Was that a typical response that                 14:29:00
16   LuLaRoe would make to customers?                                     14:29:03
17       A       Not generally, no.                                       14:29:10
18       Q       And this was January 21, 2017; right?                    14:29:11
19       A       Yeah.                                                    14:29:14
20       Q       It doesn't say '17, but this policy wasn't               14:29:14
21   in place January of '16; right?                                      14:29:20
22       A       That's correct.                                          14:29:31
23       Q       The next page, 18432, it was pretty much                 14:29:32
24   the same response from Derryl to a different                         14:29:39
25   customer?                                                            14:29:44


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                  Transcript of Jamie Ellis, Corporate Designee
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1        Q     But there's no indication in these                         14:31:14
2    documents that any refunds were issued?                              14:31:17
3        A     Yeah, not in these documents, no.                          14:31:20
4        Q     Okay.   The next page, 18444, a customer,                  14:31:22
5    Ms. Brainard, indicates that she had clothing                        14:31:31
6    delivered to Massachusetts, and she says, "Can I be                  14:31:37
7    issued a refund on the tax?"                                         14:31:40
8              In response to that, did LuLaRoe issue a                   14:31:48
9    refund?                                                              14:31:51
10       A     It does not appear that Kia ever said                      14:31:56
11   anything about issuing a refund to her.                              14:32:06
12       Q     Okay.   Is Kia --                                          14:32:08
13       A     But this never made it to the sales tax or                 14:32:10
14   tax department either.                                               14:32:13
15       Q     Is Kia in retailer support?                                14:32:13
16       A     Yes.                                                       14:32:17
17       Q     Okay.   And Kia said that the retailer                     14:32:17
18   should have known that the tax is based on where the                 14:32:21
19   consultant lives?                                                    14:32:25
20       A     "A retailer should have known this and for                 14:32:28
21   that, we do apologize" is what she stated.                           14:32:31
22       Q     And that was in response, I guess, to                      14:32:35
23   Ms. Brainard saying that the consultant had said it                  14:32:38
24   was an issue with the LuLaRoe billing system.                        14:32:41
25             Did LuLaRoe expect that the retailers would                14:32:47


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1    let the customers know that sales tax was charged                          14:32:49
2    based upon the location of the consultants?                                14:32:54
3        A    Yes.     When we sent the white paper or the                      14:32:59
4    sales tax memo, when we sent all that information,                         14:33:04
5    it was to the retailers, and it was for their being                        14:33:07
6    able to explain how the system worked.                                     14:33:12
7        Q    Okay.     So you expected that the end                            14:33:15
8    consumers would know that policy?                                          14:33:18
9        A    No.     We expected the retailers to know that                    14:33:21
10   to explain it to the end customers.                                        14:33:24
11       Q    Okay.     So you did expect the retailers to                      14:33:27
12   tell the end customers that?                                               14:33:30
13       A    Yes.                                                              14:33:32
14       Q    The next page is 18499, and it looks like                         14:33:35
15   Robin Donoghue -- I might be saying that wrong --                          14:33:45
16   emailed about a tax charged on a particular invoice                        14:33:50
17   and said, "I want this refunded immediately."                  And         14:33:58
18   Summer Johnson replied.                                                    14:34:10
19            Is Summer also in retailer support?                               14:34:12
20       A    Yes.                                                              14:34:14
21       Q    Okay.     And she said tax is based on the                        14:34:15
22   location of the consultant and then provided this                          14:34:20
23   customer with the LuLaRoe sales tax 042016.                                14:34:23
24            Would that be the sales tax memo or the                           14:34:30
25   white paper?                                                               14:34:33


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                       Transcript of Jamie Ellis, Corporate Designee
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1        A       I believe so.                                               14:34:34
2        Q       Which one?                                                  14:34:34
3        A       Sales tax memo.                                             14:34:35
4        Q       Okay.     And then she refers the customer to               14:34:37
5    the consultant as well?                                                 14:34:43
6        A       Yes.                                                        14:34:50
7        Q       And Summer didn't issue a refund; right?                    14:34:51
8        A       No.     Sales tax was the only one that was                 14:34:54
9    issuing the refunds, the tax department.                                14:34:58
10       Q       At any point prior to the filing of the                     14:35:07
11   complaint which was February 17, 2017, did LuLaRoe                      14:35:54
12   make an announcement to all of its consultants that                     14:35:59
13   it was going to refund the improperly charged sales                     14:36:03
14   tax to the consumers in the 11 states identified in                     14:36:12
15   the amended complaint?                                                  14:36:15
16               MR. GRAHAM:       Objection.      Vague and                 14:36:16
17   ambiguous, lacks foundation.                                            14:36:17
18               You can answer, Jamie.                                      14:36:18
19               THE WITNESS:       Can you rephrase the                     14:36:20
20   question.                                                               14:36:21
21   BY MS. IVERSON:                                                         14:36:21
22       Q       At any point prior to February 17, 2017,                    14:36:22
23   did LuLaRoe make an announcement to its consultants                     14:36:24
24   or retailers that it would refund customers that                        14:36:28
25   were overcharged sales tax in the 11 states                             14:36:36


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                  Transcript of Jamie Ellis, Corporate Designee
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1    identified in the amended complaint?                                 14:36:41
2              MR. GRAHAM:    Subject to my objection,                    14:36:43
3    answer.                                                              14:36:44
4              THE WITNESS:    To my knowledge, no.                       14:36:46
5    BY MS. IVERSON:                                                      14:36:46
6        Q     You participated in responding to                          14:37:03
7    interrogatories --                                                   14:37:07
8        A     Yes.                                                       14:37:07
9        Q     -- that we served; right?                                  14:37:08
10       A     Yes.                                                       14:37:09
11       Q     I'm going to give those to you.           M is the         14:37:10
12   second set of interrogatories, and R is the first                    14:37:48
13   set of interrogatories.                                              14:37:51
14             (Ellis Exhibit Numbers M and R were marked                 14:37:52
15   for identification.)                                                 14:38:06
16             MS. IVERSON:    I had a rhyme and reason to                14:38:06
17   all the numbering up until we got the designations                   14:38:08
18   of the topics.    Sorry, Steve.                                      14:38:12
19             MR. GRAHAM:    That's okay.      Just as long as           14:38:15
20   they're clearly labeled.                                             14:38:17
21   BY MS. IVERSON:                                                      14:38:24
22       Q     So the first set of interrogatories asked                  14:38:43
23   how many transactions and how much was charged in                    14:38:52
24   sales tax -- I'm sorry.      The number of sales made                14:38:59
25   and the total amount in dollars of sales made where                  14:39:03


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1    interrogatories?                                                     14:57:01
2          A   Uh-uh.    Yes.                                             14:57:01
3          Q   The response to Interrogatory Number 1 and                 14:57:03
4    Interrogatory Number 2, how did LuLaRoe determine                    14:57:11
5    those amounts?                                                       14:57:18
6          A   By the actual invoices.                                    14:57:20
7          Q   So LuLaRoe's able to identify each                         14:57:26
8    transaction where sales tax was charged and the                      14:57:34
9    product was shipped into one of the 11 jurisdictions                 14:57:38
10   named in the complaint?                                              14:57:42
11         A   After a lot of research and a lot of time                  14:57:43
12   processing and gathering the information and where                   14:57:47
13   it was held to combine and accurately put that                       14:57:53
14   information together, yes.                                           14:57:58
15         Q   Okay.    You were able to ascertain the                    14:57:59
16   different --                                                         14:58:03
17         A   At that time.                                              14:58:03
18         Q   I'm sorry.       Let me finish the question.               14:58:04
19   You were able to ascertain the different end                         14:58:06
20   consumers that paid sales tax in the 11 states in                    14:58:09
21   the complaint, who they were?                                        14:58:13
22             MR. GRAHAM:       Objection.     Lacks foundation.         14:58:14
23             Go ahead.                                                  14:58:17
24             THE WITNESS:       Can you repeat the question?            14:58:19
25   ///


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1    BY MS. IVERSON:                                                      14:58:20
2        Q    You were able to ascertain who the end                      14:58:20
3    consumers were in those 11 jurisdictions that were                   14:58:24
4    charged sales tax on transactions?                                   14:58:29
5             MR. GRAHAM:     Same objection.                             14:58:33
6             THE WITNESS:     After much work and time and               14:58:35
7    effort going into programming and learning of the                    14:58:38
8    system, getting the system to be put into place                      14:58:42
9    where we could accurately identify where it was from                 14:58:45
10   and to and the time and all of the effort put into                   14:58:50
11   that particular effort long before any of this was                   14:58:56
12   brought, it was a long, extensive road to get to                     14:59:06
13   this point, yes.                                                     14:59:13
14   BY MS. IVERSON:                                                      14:59:16
15       Q    So the answer is yes?        I understand why you           14:59:16
16   want to explain that.     I'll just say that, you know,              14:59:19
17   I've had correspondence with your counsel where                      14:59:21
18   they're saying that your plans to refund taxes                       14:59:21
19   before the complaint was filed is not relevant at                    14:59:25
20   this stage and that we shouldn't be asking, and so I                 14:59:25
21   didn't designate that as a topic, and we haven't                     14:59:28
22   been given any discovery on it.                                      14:59:31
23            So I think the question is really we're                     14:59:33
24   able to identify who paid the tax; right?                            14:59:36
25       A    Yes.                                                        14:59:41


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                    Transcript of Jamie Ellis, Corporate Designee
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1    BY MS. IVERSON:                                                      15:21:58
2        Q       Okay.   Did you plan on providing any of                 15:21:59
3    those consumers with any amount over and above the                   15:22:00
4    actual amount of the taxes incorrectly charged?                      15:22:07
5        A       We would refund them the taxes that they                 15:22:11
6    were due back.                                                       15:22:15
7        Q       And you would not include any kind of                    15:22:16
8    interest on that in your plan; right?                                15:22:19
9        A       If they were due back sales tax --                       15:22:20
10               MS. IVERSON:    Mr. Stidham, you'll have your            15:22:25
11   opportunity tomorrow.                                                15:22:27
12               MR. STIDHAM:    I'm sorry.      What?                    15:22:29
13               MS. IVERSON:    I said you'll have your                  15:22:30
14   opportunity tomorrow.       So if you could refrain from             15:22:31
15   laughing at my questions, I'd definitely appreciate                  15:22:33
16   that.                                                                15:22:36
17               MR. GRAHAM:    Kelly, just move on, you're               15:22:37
18   getting a little bit upset --                                        15:22:40
19               MR. STIDHAM:    I'm pouring a glass of water.            15:22:42
20               MR. GRAHAM:    Mark, just -- just move on.               15:22:45
21               THE WITNESS:    Can you restate the question,            15:22:46
22   please.                                                              15:22:47
23               MS. IVERSON:    Can you read back the                    15:22:47
24   question?                                                            15:22:48
25               (Record read by the reporter as follows:                 15:22:58


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                    Transcript of Jamie Ellis, Corporate Designee
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1                      "QUESTION:       And you would not                 15:22:16
2              include any kind of interest on that                       15:22:18
3              in your plan; right?")                                     15:22:19
4              THE WITNESS:      We would issue back any                  15:23:00
5    refunds that were due to the customer relating to                    15:23:02
6    sales tax.                                                           15:23:05
7    BY MS. IVERSON:                                                      15:23:06
8          Q   In the exact amount of the sales tax that                  15:23:06
9    was charged?                                                         15:23:11
10         A   In the amount that they were owed back.                    15:23:11
11         Q   Okay.     And how would you determine what                 15:23:13
12   they were owed back?                                                 15:23:14
13         A   Based upon the ship-from and ship-to                       15:23:16
14   addresses.                                                           15:23:19
15         Q   And your plan was limited to those amounts                 15:23:21
16   and did not include any amounts above that?                          15:23:25
17         A   It would be what they were due back.                       15:23:29
18         Q   And when you say "what they were due back,"                15:23:33
19   did that include any kind of interest?                               15:23:40
20         A   Again, we would refund them based upon what                15:23:43
21   the sales tax that they were due back.                               15:23:46
22             MR. GRAHAM:      So the answer is no, it did               15:23:49
23   not include interest; correct?                                       15:23:51
24             THE WITNESS:      Yes.                                     15:23:52
25   ///


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                  Transcript of Jamie Ellis, Corporate Designee
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1    BY MS. IVERSON:                                                      15:23:57
2        Q    And it did not include any other amounts                    15:23:59
3    above the amount of the sales tax that you deemed                    15:24:02
4    they were due back?                                                  15:24:07
5        A    That we found appropriately -- that we                      15:24:09
6    found to be calculated, yes, that is correct.                        15:24:12
7        Q    Okay.    And was your plan only with                        15:24:16
8    respect -- I'm sorry.     What states were you looking               15:24:24
9    at to refund consumers in?                                           15:24:28
10       A    We would look at all transactions.                          15:24:31
11       Q    So did that include transactions in states                  15:24:42
12   that were not set forth in the amended complaint?                    15:24:56
13       A    Absolutely, yes.                                            15:25:01
14       Q    And in what instance would you -- did you                   15:25:04
15   have a plan to refund people in those other states?                  15:25:12
16       A    What do you mean?                                           15:25:16
17       Q    Give me an --                                               15:25:18
18       A    I'm just trying to get an example or what                   15:25:21
19   you mean by that.     I'm not sure I quite understand.               15:25:23
20       Q    Yeah, give me an example of somebody in a                   15:25:25
21   state that's not the 11 named in the amended                         15:25:28
22   complaint that you planned to refund.           What would a         15:25:31
23   transaction look like?                                               15:25:36
24       A    That they be overcharged sales tax.                         15:25:42
25       Q    So would it be if their sales tax rate was                  15:25:46


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1    BY MS. IVERSON:                                                              15:43:19
2        Q    Okay.     Explain that to me.                                       15:43:19
3        A    When I came into LuLaRoe, I went back to                            15:43:21
4    reconcile all of the previous filings to ensure that                         15:43:25
5    we had reported all sales, and the information that                          15:43:29
6    I had received from control then at the time for                             15:43:32
7    those sales had given us what sales were done, and                           15:43:36
8    we filed and remitted based upon those sales, not                            15:43:40
9    necessarily how much was collected.                                          15:43:44
10            And it wasn't until later that we found out                         15:43:48
11   it wasn't until -- that it wasn't what we collected.                         15:43:51
12   It was just based on the sales that was processed                            15:43:54
13   through Audrey.                                                              15:43:57
14       Q    Okay.     I'm not really understanding.               Maybe         15:43:58
15   let me tell you what I'm hearing and you tell me if                          15:44:03
16   I'm correct.                                                                 15:44:06
17       A    Okay.                                                               15:44:07
18       Q    Is it that you went back and looked at the                          15:44:07
19   out-of-state sales in which instances the                                    15:44:13
20   consultants probably would have not charged sales                            15:44:18
21   tax, and you actually went through and paid sales                            15:44:21
22   tax to the states for that?                                                  15:44:24
23       A    We paid it on all sales.           So whether it                    15:44:25
24   was -- if they did not charge or did charge, the                             15:44:29
25   only report that we received from control pad was                            15:44:32


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                      Transcript of Jamie Ellis, Corporate Designee
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1    what sales were actually done, not the amount of                         15:44:35
2    sales tax that was collected for prior.               So when we         15:44:39
3    were receiving that data, we received what sales                         15:44:43
4    were actually done.        So we, therefore, then                        15:44:45
5    submitted and paid the sales tax based upon those                        15:44:48
6    sales figures.                                                           15:44:52
7           Q      Okay.   So prior to April, 2016, you were                  15:44:52
8    actually paying the sales tax to states or -- when                       15:44:56
9    sales tax was not collected from a customer?                             15:45:04
10          A      Yes.                                                       15:45:07
11          Q      And when you changed to the April, 2016,                   15:45:08
12   policy, that was no longer the case?                                     15:45:10
13          A      We were still paying based on the sales but                15:45:14
14   also on how much we had collected from the sales                         15:45:18
15   tax.       So it was reconciling back.                                   15:45:21
16          Q      So you were no longer paying tax that                      15:45:22
17   wasn't collected from the customer; is that right?                       15:45:27
18          A      Yes.                                                       15:45:29
19          Q      Okay.   And did you ever reconcile how much                15:45:29
20   in sales tax you paid to states that had not been                        15:45:35
21   collected from customers because of that toggle                          15:45:39
22   switch?                                                                  15:45:44
23          A      I did a reconciliation but not                             15:45:46
24   necessarily -- I believe we've done a reconciliation                     15:45:49
25   of that, yes.                                                            15:45:51


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                   Transcript of Jamie Ellis, Corporate Designee
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1           Q   Okay.    Do you know approximately what that               15:45:51
2    was?                                                                  15:45:54
3           A   I don't.     Not off the top of my head right              15:45:54
4    now, no.                                                              15:45:57
5           Q   Do you know if it was in the thousands,                    15:45:57
6    hundred thousands, millions?                                          15:45:59
7           A   No, I don't.                                               15:46:01
8           Q   All right.     And I think -- I mean, we've                15:46:06
9    been told this, but I do want to understand from you                  15:46:25
10   and get it on the record.       I'm going to -- I'm going             15:46:27
11   to give you an example, and I just want to know what                  15:46:32
12   happens with the sales tax collected.            So if an end         15:46:35
13   consumer in Pennsylvania, which doesn't have sales                    15:46:38
14   tax on clothing, purchased on Facebook or online                      15:46:42
15   through a consultant who was located in a sales tax                   15:46:47
16   state, let's say Washington just for part of this                     15:46:51
17   example, and paid a dollar in sales tax, what would                   15:46:55
18   happen to that dollar?                                                15:47:01
19          A   It would have been remitted to Washington.                 15:47:02
20          Q   I think in your declaration you said there                 15:47:05
21   was some kind of segregated account that it goes                      15:47:10
22   into first?                                                           15:47:14
23          A   Yes.    It would have gone into the separated              15:47:14
24   from operating accounts.       It's a completely separate             15:47:18
25   tax account that we have that just holds sales tax                    15:47:22


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1        Q       When you say "earlier this year," can you                   15:48:24
2    be more specific?                                                       15:48:27
3        A       Unfortunately, I didn't make the decision                   15:48:28
4    on that.     All I know is that it did start to earn                    15:48:29
5    interest.                                                               15:48:33
6        Q       Was that prior to February 17, 2017?                        15:48:33
7        A       I don't know off the top of my head, but                    15:48:38
8    we've also never taken any funds from the account                       15:48:48
9    other than for sales tax, whether refunded to the                       15:48:52
10   customer or given to the state.                                         15:48:56
11       Q       All right.      So in that example I gave where             15:49:04
12   an end consumer in Pennsylvania bought from someone                     15:49:07
13   in Washington and was charged a dollar in sales tax,                    15:49:09
14   what if they had three transactions?               One was              15:49:12
15   Washington, one was Hawaii, one was Alabama, and                        15:49:15
16   they paid a dollar sales tax on each of those                           15:49:19
17   transactions, what would happen to that $3?                             15:49:23
18       A       It would go to each of the three states.                    15:49:27
19   One would go to Washington, one would go to Hawaii,                     15:49:30
20   and one would go to Alabama after being deposited                       15:49:33
21   into the sales tax account.                                             15:49:37
22       Q       But it would not be paid to Pennsylvania;                   15:49:38
23   is that right?                                                          15:49:40
24       A       No.                                                         15:49:40
25       Q       So generally, the sales tax that was                        15:49:40


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1    charged was paid into the state in which the                         15:49:45
2    consultant lived?                                                    15:49:48
3        A     Based upon, as you see, in the sales tax                   15:49:49
4    memo, yes.                                                           15:49:52
5        Q     Okay.     Does LuLaRoe receive any kind of                 15:49:52
6    collection discount for taxes paid into any of the                   15:50:07
7    states?                                                              15:50:11
8        A     Yes.     There are certain timely filing                   15:50:13
9    discounts or paying on time discounts, yes, for                      15:50:20
10   certain states.                                                      15:50:24
11       Q     Do you know what the range of those                        15:50:24
12   discounts is?                                                        15:50:26
13       A     From $50 up just depending on what the                     15:50:29
14   state deems.      But none of those funds were ever                  15:50:33
15   taken from the sales tax account and were always                     15:50:41
16   left in the sales tax account.                                       15:50:44
17       Q     I'm sorry.     I'm just double-checking what               15:50:47
18   you were designated for to make sure I'm segregating                 15:51:12
19   my questions accordingly.                                            15:51:17
20       A     No problem.                                                15:51:20
21       Q     Okay.     I think we'll move quickly for the               15:51:21
22   rest of this, I hope.                                                15:51:42
23             MR. GRAHAM:      I don't have a dinner                     15:51:49
24   reservation till 9:00; so feel free to take your                     15:51:50
25   time.                                                                15:51:55


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1    BY MS. IVERSON:                                                      16:01:52
2        Q    I just wanted to make sure.                                 16:01:52
3             MR. GRAHAM:     I didn't assign that one to                 16:01:54
4    Mark.                                                                16:01:56
5             MR. STIDHAM:     No problem.                                16:01:57
6    BY MS. IVERSON:                                                      16:01:58
7        Q    All right.     Have you looked into the                     16:01:58
8    purchases of each of the named plaintiffs?                           16:02:00
9        A    Yes.                                                        16:02:02
10       Q    Do you agree that each were charged sales                   16:02:03
11   tax on at least one purchase?                                        16:02:06
12       A    Yes.                                                        16:02:07
13       Q    And consistent with what we talked about,                   16:02:08
14   is it LuLaRoe's position that the tax that was                       16:02:14
15   charged to the 11 named plaintiffs was based on the                  16:02:17
16   taxing jurisdiction of the consultant they purchased                 16:02:20
17   from?                                                                16:02:23
18       A    Yes.                                                        16:02:24
19       Q    And the sales tax that LuLaRoe collected                    16:02:26
20   from each of the named plaintiffs was paid into the                  16:02:35
21   taxing jurisdiction which the consultant resides?                    16:02:40
22       A    Yes.                                                        16:02:43
23       Q    And not into the jurisdiction where the                     16:02:46
24   11 -- any of the jurisdictions where the 11 named                    16:02:52
25   plaintiffs live?                                                     16:02:55


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1        A      Yes.                                                      16:02:56
2        Q      Okay.   And some of the named plaintiffs                  16:02:56
3    bought from consultants in multiple states that                      16:03:01
4    charge sales tax; is that right?                                     16:03:05
5        A      They just bought from multiple consultants                16:03:06
6    from multiple states.                                                16:03:09
7        Q      Yes.                                                      16:03:09
8        A      Some of them had sales tax.         Some of them          16:03:12
9    did not.                                                             16:03:14
10       Q      Okay.   Do you know, for instance, Rachel                 16:03:14
11   Webster, how many different states she purchased                     16:03:18
12   from that charged sales tax?                                         16:03:24
13       A      Not right now, no, I do not.                              16:03:26
14       Q      Okay.   And if, for example -- and I don't                16:03:31
15   know the correct number, but say she purchased from                  16:03:36
16   consultants in five different states that charged                    16:03:41
17   sales tax, it's correct that that money that was                     16:03:43
18   collected from Ms. Webster would have been paid into                 16:03:45
19   those five different states?                                         16:03:49
20       A      Yes.                                                      16:03:51
21       Q      Okay.   And that answer would be the same                 16:03:52
22   for each of the plaintiffs?                                          16:03:55
23       A      Yes.                                                      16:03:57
24       Q      And would that answer be the same, then,                  16:03:59
25   for each of the end users that received LuLaRoe                      16:04:01


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1    products in one of the 11 jurisdictions named in the                   16:04:06
2    amended complaint when they purchased from a                           16:04:10
3    consultant in a state with sales tax?                                  16:04:13
4           A      Yes.   That was based on what our system                 16:04:16
5    could do at the time.                                                  16:04:19
6           Q      Did -- since issuing refunds after the                   16:04:20
7    complaint was filed, did LuLaRoe go back to the                        16:04:40
8    states to request adjustments under the co-vendor                      16:04:45
9    agreements?                                                            16:04:49
10          A      Yes.   We took the credits for those                     16:04:50
11   particular locations where sales tax was refunded                      16:04:54
12   from to the customers and took the credits back on                     16:04:58
13   those particular states where it was paid.                             16:05:04
14          Q      I think at one point I read that                         16:05:06
15   Mr. Stidham had called it a zero sum game.                             16:05:12
16                 Would you agree with that?                               16:05:16
17          A      What do you mean by -- I'm trying to                     16:05:17
18   understand what you mean by "zero sum game."                           16:05:20
19          Q      That the amounts you refunded that was                   16:05:23
20   either from your sales tax account or you would have                   16:05:34
21   received it back from the states; so LuLaRoe was not                   16:05:37
22   ultimately out any money for refunding these taxes?                    16:05:42
23          A      We were never enriched by the sales tax at               16:05:47
24   all.       It was, as he said, a zero gain or loss on our              16:05:50
25   behalf because it's not our funds.             It was coming           16:05:56


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1    from the customer -- the end consumer and was paid                   16:06:00
2    to the state.     If it was paid to the incorrect                    16:06:04
3    state, we got the credit and paid it to the correct                  16:06:06
4    state or refunded the customer; so, therefore, any                   16:06:09
5    offsets would have offset each other and would not                   16:06:12
6    have been anything to LuLaRoe.                                       16:06:17
7               MS. IVERSON:    I think I'm done.         Do you          16:06:31
8    mind if we take a quick five-minute break?                           16:06:33
9               MR. GRAHAM:    No problem.                                16:06:37
10              MS. IVERSON:    I'd like to re-review my                  16:06:38
11   outline.                                                             16:06:40
12              THE VIDEOGRAPHER:      The time is 4:06 p.m.              16:06:42
13   We're now off the record.                                            16:06:44
14              (Recess taken from 4:06 p.m. to 4:25 p.m.)                16:06:45
15              THE VIDEOGRAPHER:      The time is 4:25 p.m.,             16:25:25
16   and we're back on the record.                                        16:25:27
17   BY MS. IVERSON:                                                      16:25:28
18       Q      On Exhibit R, which is the first set of                   16:25:30
19   interrogatories, we asked you about how many and how                 16:25:33
20   much you had charged in sales tax to the                             16:25:40
21   jurisdictions in the amended complaint, and then we                  16:25:45
22   also asked you about the refunds that you issued.                    16:25:47
23       A      Uh-huh.                                                   16:25:51
24       Q      And those numbers matched; right?                         16:25:51
25       A      Say that again.                                           16:25:55


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